






In The



Court of Appeals



Ninth District of Texas at Beaumont



____________________



NO. 09-06-109 CR


____________________



DAVID SMITH, Appellant



V.



THE STATE OF TEXAS, Appellee






On Appeal from the Criminal District Court


Jefferson County, Texas


Trial Cause No. 93671






MEMORANDUM OPINION


	David Smith was convicted and sentenced on an indictment for possession of a
controlled substance.  Smith filed a notice of appeal on February 24, 2006.  The trial court
entered a certification of the defendant's right to appeal in which the court certified that
this is a plea-bargain case and the defendant has no right of appeal.  See Tex. R. App. P.
25.2(a)(2).  The trial court's certification has been provided to the Court of Appeals by the
district clerk.

	On March 20, 2006, we notified the parties that the appeal would be dismissed
unless an amended certification was filed within thirty days of the date of the notice and
made a part of the appellate record.  See Tex. R. App. P. 37.1.  The record has not been
supplemented with an amended certification.  Because a certification that shows the
defendant has the right of appeal has not been made part of the record, the appeal must be
dismissed.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for want of jurisdiction.

	APPEAL DISMISSED.

								___________________________

								       STEVE McKEITHEN

									    Chief Justice


Opinion Delivered May 10, 2006

Do Not Publish

Before McKeithen, C.J., Gaultney and Horton, JJ.


